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WESTERN DISTRICT OF TENNESSEE

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U.S.A. vs. l)onna Griffin Docket No. 2:00CR20091-01
Petition on Probation and Supervised Release

COMES N()W Michelle R. Sims PROBA'I`ION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Donna Griffrn who Was placed on supervision by the
Honorable Jon P. McCaIla sitting in the Court at Memphis, Tennessee. on the 8“' day of March 2001,
who fixed the period of supervision at three ¢3 ) years* , and imposed the general terms and conditions
theretofore adopted by the Court and also imposed Special Conditions and terms as follows:

 

l. The defendant shall pay restitution in the amount of $ 7,633.03 (balance $6,153.03).

* Term of Supervised Release began on June 5, 2002.

RESPECTFULLY PRESENT[NG PETITION FOR ACTION OF C()URT F()R CAUSE AS FOLLOWS:

Donna Griffrn has failed to pay restitution in full as ordered. She has maintained a full time job and has made
monthly payments as directed. The defendant is currently making payments of Fifty Dollars ($50.00) per
month and is a full time student; however, it does not appear that the defendant Wil] be able to satisfy her
outstanding balance by her scheduled expiration date. Mrs. Griffm signed a Payment Agreement indicating
her willingness to cooperate with the Financial litigation Unit.

PRAYING THAT THE COURT WILL ORDER that Ms. Griffm’s term of Supervised Release be allowed
to expire as scheduled on June 4, 2005, with the understanding that the United States Attorney’s Offlce will
be responsible for the continued collection of the restitution

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Considered and ordered this 51 day WGLCM' dU/£O
Of m g\_£ ,200_5_ and ordered Michelle R. sihs/ bg
filed and ade a part of the records in United States Probation leer
the above case.
Place Memphis. TN
nn m 04th

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Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:00-CR-2009l Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Julia Gibbons
US DISTRICT COURT

